                                  IN THE UNITED
              Case 2:25-cv-02347-MSN-atc        STATES
                                           Document 5 DISTRICT   COURTPage 1 of 1
                                                       Filed 12/30/24                                                           PageID
                                 FOR THE EASTERN DISTRICT OF VIRGINIA
                                                   18

       APPLICATION TO QUALIFY AS A FOREIGN ATTORNEY UNDER LOCAL CIVIL RULE 83.1(E) AND LOCAL


                                                            CRIMINAL RULE 57.4(E)
                    In Case Number1:24-cv-2339 Party              , Case Name Johnson v. American Home Shield of Virginia, Inc.
                    Represented by Applicant:                   Antwane Johnson


To: The Honorable Judges of the United States District Court for the Eastern District of Virginia

                                                            PERSONAL STATEMENT

FULL NAME (no initials, please) Anthony Ilo Paronich___________
Bar Identification Number 678437                    State MA
Firm Name Paronich Law
Firm Phone # (617) 485-0018                      Direct Dial # (617) 485-0018                             FAX # (508) 318-8100
E-Mail Address   anthony@paronichlaw.com

Office Mailing Address 350 Lincoln Street, Suite 2400 Hingham, MA 02043

Name(s) of federal district court(s) in which I have been admitted Massachusetts, Northern District of Illinois, Western District of Wisconsin

I certify that the rules of the federal court in the district in which I maintain my office extend a similar pro hac vice admission
privilege to members of the bar of the Eastern District of Virginia.

I have not been reprimanded in any court nor has there been any action in any court pertaining to my conduct or fitness as a
member of the bar.

I hereby certify that, within ninety (90) days before the submission of this application, I have read the Local Rules of this Court
and that my knowledge of the Federal Rules of Civil Procedure, the Federal Rules of Criminal Procedure, and the Federal Rules of
Evidence is current.

I am      am not      a full-time employee of the United States of America, and if so,
                                                                                    o, request exemption from the aadmission fee.


                                                                                               (Applicant’s Signature)

I, the undersigned, do certify that I am a member of the bar of this Court, not related to the applicant; that I know the applicant
personally, that the said applicant possesses all of the qualifications required for admission to the bar of this Court; that I have
examined the applicant’s personal statement. I affirm that his/her personal and professional character and standing are good, and
petition the court to admit the applicant pro hac vice.

                                                                                                                            December 23, 2024
                                                         (Signature)                                                        (Date)
                                                          William Robinson                                                  76098
                                                         (Typed or Printed Name)                                            (VA Bar Number)
Court Use Only:

Clerk’s Fee Paid        or Exemption Granted

The motion for admission is GRANTED                 or DENIED



                                                                                                           12/30/2024
                            (Judge’s Signature)                                                          (Date)
